
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 95-1733

                          SULLIVAN BROTHERS PRINTERS, INC.,

                                     Petitioner,

                                          v.

                           NATIONAL LABOR RELATIONS BOARD,

                                     Respondent.

                                 ____________________

          No. 96-1098

                          LOCAL 600M, GRAPHIC COMMUNICATION
                          INTERNATIONAL UNION, AFL-CIO, CLC,

                                     Petitioners,

                                          v.

                           NATIONAL LABOR RELATIONS BOARD,

                                     Respondent.

                                 ____________________

                          SULLIVAN BROTHERS PRINTERS, INC.,

                                     Intervenor.

                                 ____________________

                    ON PETITIONS FOR REVIEW AND CROSS-APPLICATION
                            FOR ENFORCEMENT OF AN ORDER OF
                          THE NATIONAL LABOR RELATIONS BOARD

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                           Campbell, Senior Circuit Judge,
                                     ____________________

                              and Lynch, Circuit Judge.
                                         _____________














                                _____________________

               Robert  P. Corcoran,  with whom  Gleeson &amp;  Corcoran was  on
               ___________________              ___________________
          brief for petitioner Sullivan Brothers Printers, Inc.
               Anton G. Hajjar, Adrienne L. Salda a and O'Donnell, Schwartz
               _______________  ___________________     ___________________
          &amp; Anderson,  P.C. on  brief for petitioners  Local 600M,  Graphic
          _________________
          Communications  International Union,  AFL-CIO,  CLC  and  Graphic
          Communications International Union, AFL-CIO, CLC.
               David A. Fleischer, Senior  Attorney, with whom Frederick L.
               __________________                              ____________
          Feinstein, General Counsel, Linda Sher, Associate General Counsel
          _________                   __________
          and  Aileen A.  Armstrong,   Deputy  Associate  General  Counsel,
               ____________________
          National Labor  Relations Board  were on  brief for  the National
          Labor Relations Board.



                                 ____________________

                                   November 5, 1996
                                 ____________________

































                                         -2-














                    TORRUELLA, Chief Judge.   Petitioner-Appellant Sullivan
                    TORRUELLA, Chief Judge. 
                               ___________

          Brothers Printers, Inc. ("Sullivan"), appeals the decision of the

          National  Labor  Relations  Board  (the "NLRB"  or  the  "Board")

          finding that Sullivan  committed an unfair labor practice.  Local

          600M of the Graphic Communications International Union  ("GCIU"),

          AFL-CIO,  appeals the  Board's  refusal to  order  the remedy  it

          requested.  For the reasons stated herein, we affirm.

                                      BACKGROUND
                                      BACKGROUND

                    We  have  previously  addressed this  dispute  in  some

          detail.  See Pye v. Sullivan Bros. Printers, Inc. ("Sullivan I"),
                   ___ ___    _____________________________   __________

          38  F.3d 58 (1st Cir. 1994) (affirming district court's denial of

          the Board's  request for a preliminary  injunction requiring that

          Sullivan recognize  and bargain  with Local 600M).   Accordingly,

          rather than delve into the  facts of this case, we begin  with an

          outline of the dispute, and address more specific details as they

          arise.

                    For  over  three decades,  GCIU Local  109C represented

          Sullivan's pressmen, and Local 139B represented  its bookbinders.

          As  of 1990,  Sullivan's pressmen  and bookbinders  represented a

          small minority in each local:  "The vast majority of  the members

          of each  local .  . . worked  at another printing  company, North

          American  Directory Corporation ('NADCO')."  Id. at 60.  By 1993,
                                                       ___

          however, NADCO  had closed  its plant, dramatically  reducing the

          locals' membership.  Local  109C was left with about  40 members,

          roughly  15 of whom were from Sullivan,  and Local 139B with 8 to

          10   members,    all   from   Sullivan.       Henry   Boermeester


                                         -3-














          ("Boermeester"),  president  of  Local   109C,  and  Oscar  Becht

          ("Becht"), president  of Local 139B, both  NADCO employees, began

          to  explore  the possibilities  of  merging  or transferring  the

          locals.   Accordingly, in January of 1993, the Local 109C members

          voted to  surrender  their charter  and transfer  to Local  600M,

          which had some 700 members.   The Local 139B members did the same

          in March.  Id. at 60-61.  
                     ___

                    In July of 1993,  Local 600M formally notified Sullivan

          of the changes and  asked Sullivan to recognize and  bargain with

          it.   Local 139B's  contract with Sullivan  was due to  expire in

          August of 1993,  but Local  109C's was effective  through May  of

          1995.  Beginning in July, 1993, Sullivan began to take unilateral

          actions,  which Local 600M points  to as unlawfully altering some

          of the terms and conditions of employment in the bookbinders' and

          pressmen's units.   Sullivan informed Local 600M in early August,

          1993, that it would not recognize Local 600M, and that it did not

          consider itself bound by the transfer.  Id. at 62.  
                                                  ___

                    Local 600M responded by filing an unfair labor practice

          charge  with the Board. The Board issued an unfair labor practice

          complaint charging Sullivan with violations of the National Labor

          Relations  Act  (the  "Act")  for  refusing  to  bargain and  for

          unilaterally changing the terms  and conditions of employment, in

          violation  of sections 8(a)(1)  and 8(a)(5) of  the Act.   See 29
                                                                     ___

          U.S.C.    158(a)(1) &amp; (a)(5).1  The Board petitioned the district
                              
          ____________________

          1  Under   8(a) of the Act, 

                    [i]t shall be an unfair labor practice for an

                                         -4-














          court  for   a  temporary  injunction  requiring   that  Sullivan

          recognize and bargain  with Local 600M and  rescinding certain of

          the  unilateral   changes.     The  district  court   denied  the

          injunction,  stating  that  "'a  question  exist[ed]  as  to  the

          continuity of representation provided by Local 600M,'" id. at 62,
                                                                 ___

          and a panel of this court affirmed in October, 1994.2  Id.
                                                                 ___

                    In the  meantime, an  administrative law judge  ("ALJ")

          conducted a hearing  and issued his decision in July,  1994.  The

          ALJ found  that Sullivan had not violated  the Act by refusing to

          recognize Local 600M as  the successor to 139B, but  had violated

          it by refusing to recognize Local 109C.  The NLRB, in turn, found

          that Sullivan had violated the Act by refusing to recognize Local
                              
          ____________________

                    employer --

                      (1)  to  interfere  with,   restrain,  or
                      coerce employees  in the exercise  of the
                      rights guaranteed in section 157  of this
                      title;
                      ***
                      (5)  to  refuse  to bargain  collectively
                      with    the   representatives    of   his
                      employees, subject to  the provisions  of
                      section 159(a) of this title.

          29 U.S.C.    158(a)(1) &amp; (a)(5).


          2   In Sullivan  I, we concluded  that "the transfer  of [L]ocals
                 ___________
          139B and 109C to 600M exhibited no combination of characteristics
          on which the Board has typically based a finding of continuity in
          the past."   Sullivan I, 38  F.3d at 67.   We recognize that  our
                       __________
          holding today affirming the  Board's decision reaches a different
          conclusion than  in our earlier decision.   In that  case we were
          reviewing  an  interlocutory appeal  for  a  temporary injunction
          pursuant to  section 10(j) of the  Act.  See 29  U.S.C.   160(j).
                                                   ___
          Such a proceeding is independent of the proceeding on the merits,
          and therefore our  decision in Sullivan  I is not binding  in the
                                         ___________
          context of  this appeal.  See  NLRB v. Kentucky May  Coal Co., 89
                                    ___  ____    ______________________
          F.3d 1235, 1239-40 (6th Cir. 1996) (collecting cases).

                                         -5-














          600M as the  successor to  both Locals, and  ordered Sullivan  to

          recognize and bargain with Local  600M.  Sullivan Bros. Printers,
                                                   ________________________

          Inc. ("Sullivan  II"), 317 N.L.R.B.  561, 1995 WL  318651 (1995).
          ____   ____________

          Sullivan petitioned  for review,  this court granted  the Board's

          motion to transfer the  proceeding to the United States  Court of

          Appeals for  the District of  Columbia Circuit, and  that Circuit

          transferred the proceeding  back to  this court.   The Board  has

          filed a cross-application for enforcement of its order.

                                      DISCUSSION
                                      DISCUSSION

                                     I.  Sullivan
                                     I.  Sullivan
                                         ________

                    Sullivan contends that we  should set aside the Board's

          order.    At  heart,  its  argument  is  that the  administrative

          transfer  of  Locals 139B  and  109C  interrupted the  collective

          bargaining   relationship,   giving   rise  to   a   question  of

          representation, such that Local 600M must establish its status as

          a bargaining representative through the same means that any labor

          organization  must  use  in the  first  instance.    See NLRB  v.
                                                               ___ ____

          Insulfab Plastics, Inc., 789 F.2d 961, 964-65 (1st Cir. 1986). 
          _______________________

                    "The  Act  recognizes  that  employee  support  for   a

          certified  bargaining  representative may  be  eroded by  changed

          circumstances,"  NLRB v.  Financial Inst.  Employees  of America,
                           ____     _______________________________________

          Local 1182 (Seattle-First  Nat'l Bank), 475 U.S. 192, 197 (1985),
          _____________________________________

          such  as the administrative transfer here.  In order to determine

          whether a particular  change "interrupts  an existing  collective

          bargaining relationship, the Board asks:  (1)  whether the merger

          or   transfer  vote  occurred   under  'circumstances  satisfying


                                         -6-














          minimum  due  process' and  (2)  whether  there was  'substantial

          continuity'  between  the pre- and post-merger  union."  Sullivan
                                                                   ________

          I,  38  F.3d  at 64  (quoting  Southwick  Group  d/b/a Toyota  of
          _                              __________________________________

          Berkeley,    306   N.L.R.B.    893,    899,    (1992)    (quoting
          ________

          News/Sun-Sentinel  Co., 290  N.L.R.B.  1171 (1988),  enforced 890
          ______________________                               ________

          F.2d  430 (D.C. Cir. 1989), cert. denied, 497 U.S. 1003, (1990)),
                                      ____________

          vacated  in  part,  In the  Matter  of  Nancy Watson-Tansey,  313
          _________________   _______________________________________

          N.L.R.B. 628 (1994)) (additional citations omitted).  

                    "Whether  a  question  of representation  exists  is  a

          factual issue to be  determined by the Board."   Minn-Dak Farmers
                                                           ________________

          Coop.  v.  NLRB, 32  F.3d 390,  393 (8th  Cir.  1994).   "We will
          _____      ____

          enforce a Board order if the Board correctly applied the law  and

          if  substantial  evidence  on  the record  supports  the  Board's

          factual  findings."  Union Builders,  Inc. v. NLRB,  68 F.3d 520,
                               _____________________    ____

          522  (1st Cir. 1995).  Substantial evidence is "'more than a mere

          scintilla.   It means such relevant evidence as a reasonable mind

          might accept  as adequate  to support a  conclusion.'"   Penntech
                                                                   ________

          Papers,  Inc.  v.  NLRB, 706  F.2d  18,  22  (1st Cir.)  (quoting
          _____________      ____

          Universal  Camera Corp. v. NLRB, 340 U.S. 474, 477 (1951)), cert.
          _______________________    ____                             _____

          denied,  464 U.S.  892  (1983).    We  begin  our  analysis  with
          ______

          Sullivan's  challenge to the Board's finding  of due process, and

          then turn to  the issue of whether substantial continuity existed

          here.

                                   A.  Due Process
                                   A.  Due Process
                                       ___________

                    Sullivan  contends that the  Board erred  in overruling

          the ALJ's  determination and  finding that the  voting procedures


                                         -7-














          employed by Local 139B in electing to surrender their charter and

          transfer to Local 600M  satisfied minimal due process standards.3

          It  is established that the balloting  procedures a union follows

          need not conform to Board standards.  See Seattle-First, 475 U.S.
                                                ___ _____________

          at 204.   Generally,  the Board  will look  for such  due process

          safeguards as "notice of the election to all members, an adequate

          opportunity for  members to discuss the  election, and reasonable

          precautions to maintain ballot secrecy."  Id. at 199.  The burden
                                                    ___

          of establishing lack of adequate  due process lies with Sullivan.

          See News/Sun  Sentinel Co. v. NLRB,  890 F.2d 430, 433  n.4.  For
          ___ ______________________    ____

          the reasons set forth below, we find it has not met that burden.4



                    Here, on the day  of the vote, Becht, the  president of

          Local  139B, passed out  ballots to the five  or six employees on

          the day  shift, leaving  three or  four  additional ballots  with

          another employee for distribution  to the employees on  the night

          shift.   He informed them that  he would return the following day

          to  pick up  the ballots,  which were  collected in  an envelope.

          When he collected  the sealed envelope,  he found eight  ballots,

                              
          ____________________

          3  Sullivan  does not challenge the Board's adoption of the ALJ's
          finding  that  the election  carried out  by  Local 109C  did not
          violate the minimal due process requirement.

          4  Local 600M and the GCIU, as joint intervenors, raise the issue
          of whether the  imposition of voting  requirements is beyond  the
          Board's  statutory power.  See Seattle-First, 475 U.S. at 199 n.6
                                     ___ _____________
          (declining  to reach  the  issue).   Like  the Board  before  us,
          however, we need not  address whether the NLRB has  the authority
          to impose due process requirements, as such requirements  have at
          any  rate been met  here.  See  Sullivan II, 317  N.L.R.B. at __,
                                     ___  ___________
          1995 WL 318651 at *9 n.2.

                                         -8-














          all cast in favor  of the merger.  No objection was raised by the

          members as to the merger vote process. 

                    The Board concluded  that the  due process  requirement

          was met in this  case.  First, it  found that Becht held  four or

          five  informal meetings  with  the remaining  Local 139B  members

          after  the  NADCO  closure,  informing  them  of  the  status  of

          negotiations,  and notified them a  week before the  vote that he

          would bring around  the ballots, a procedure consistent  with his

          established  practice.  Second, as for the vote itself, the Board

          relied  on the lack of any evidence  that the election was not in

          fact accomplished  with  adequate procedural  safeguards,  noting

          that  Becht knew  that all  of the  employees were  current union

          members,  that he personally distributed  the ballots to the day-

          shift employees, and that there was no evidence that the ballots'

          secrecy was  compromised.  Third,  the Board noted  that, "[m]ost

          important[ly],  there [was]  no  indication  that any  individual

          objected  to the voting procedures or any aspect of merger either

          at the  time of the  vote or any  time subsequently, or  that the

          vote  did not  reflect  the majority  view."   Sullivan  II,  317
                                                         ____________

          N.L.R.B. at __,  1995 WL 318651  at *4.   Accordingly, the  Board

          concluded that its standard of minimal due process was satisfied,

          emphasizing  again "that this case  involves the merger of sister

          locals and that no one objected."  Id. 
                                             ___

                    The Board accepted  Becht's testimony  about the  union

          membership  status  of Sullivan's  employees.   In so  doing, the

          Board  stated that, unlike the Board, the ALJ had "questioned the


                                         -9-














          basis  for  Becht's  knowledge concerning  the  union  membership

          status  of  the Respondent's  unit  employees  as being  'without

          foundation.'"   Id.  at 3  n.4.    According to  the  Board,  its
                          ___

          acceptance of Becht's testimony about union  membership therefore

          ran contrary to the  ALJ's conclusion.  Sullivan argues  that the

          Board  erred  in  drawing  this conclusion.    Instead,  Sullivan

          contends,  when  the ALJ  discussed  the  foundations of  Becht's

          testimony he was in  fact concerned with another issue:   Becht's

          testimony about  his "'belief' that  someone referred to  only as

          'he'  just handed the ballots  out without checking  names off at

          night and that the 'individual' who passed  them out at night was

          responsible to collect them."   Sullivan II, 317 N.L.R.B.  at __,
                                          ___________

          1995  WL  318651  at *15.    This  purported error  proves  a red

          herring.  Contrary to Sullivan's position, the ALJ did comment on

          the lack of foundation  for Becht's statement that the  employees

          who voted were  all union  members, stating that  "[h]ow he  knew

          this is  unexplained."  Id.   Thus the Board's  statement was not
                                  ___

          inaccurate.   What  is  more, even  if  it were  a  misstatement,

          Sullivan has pointed to no grounds for us to question the Board's

          acceptance  of "the  veteran Local 139B  officer's uncontroverted

          testimony."  Id. at *9 n.4.
                       ___

                    Second, Sullivan questions the  Board's reliance on the

          fact  that  when Becht  retrieved the  ballots  they were  in the

          sealed  envelope, with  no evidence  that they had  been tampered

          with  or  their secrecy  compromised.   Sullivan argues  that the

          ALJ's reasoning was more persuasive when he stated: 


                                         -10-














                    [a]lso left devoid of any informative answers
                    are significant questions  of who had custody
                    of  the   envelope  from  the  time   it  was
                    delivered to employees  and then returned  to
                    Becht at noon  the following day, if  anyone;
                    where it was kept, and whether any safeguards
                    whatsoever  reasonably protected  the secrecy
                    and  reliability of  the  ballots during  the
                    course of the day  and a half consumed before
                    Becht arrived and the ballots were tallied.

          Id. at *15.  Sullivan maintains that the ALJ's concerns were more
          ___

          probative as to the  secrecy and integrity of the  balloting than

          whether or  not  the ballots  were  in  a sealed  envelope.    We

          disagree.    Simply  put, the  burden  is  on  Sullivan to  prove

          impropriety,  and mere  assertions that  tampering  was possible,

          without evidentiary support  in the  record, does  not meet  that

          requirement.   See  News/Sun Sentinel  Co.,  890 F.2d  at  433-34
                         ___  ______________________

          ("[A]n  employer challenging  the validity  of a  merger election

          must provide  an evidentiary  showing of irregularity  before the

          burden  can  shift  to  the   NLRB  General  Counsel  to  provide

          affirmative  proof of  procedural propriety.").   We  cannot find

          that the Board  applied the law  incorrectly where Sullivan  does

          not meet its burden.  Cf. Insulfab, 789 F.2d at 965-66 (upholding
                                ___ ________

          near  unanimous  election  in 32-person  union  despite  informal

          procedures).

                    Third,  Sullivan questions the  Board's reliance on the

          fact that none of the employees objected to the voting procedure,

          arguing that  even minimal due process standards  require the use

          of a "more finely calibrated analysis than whether or not someone

          bothered to  complain."    Appellant's  Brief, at  47.    Indeed,

          Sullivan continues, that  is especially so here, because prior to

                                         -11-














          the  merger no Local 139B  member showed an  interest in becoming

          active in the  union, indicating  that the lack  of objection  is

          just as likely to indicate apathy as approval.  We are once again

          unconvinced.   The Board did not rely  solely on the fact that no

          employee objected:  it also found that the employees were given a

          week's  notice of  the  election, that  they  held four  or  five

          meetings  to discuss the change,  and that there  was no evidence

          that  the  ballots  were   tampered  with.    While  it   is  not

          dispositive,  the fact that none of the eight employees who voted

          complained supports  the Board's  finding.  See,  e.g., Insulfab,
                                                      ___   ____  ________

          789 F.2d  961, 966 (1st  Cir. 1986)  (noting that no  one in  the

          bargaining unit opposed the results of an affiliation election in

          upholding the Board's finding of due process); Aurelia Osborn Fox
                                                         __________________

          Memorial Hosp., 247 N.L.R.B. 356, 1980 WL 11045, at *5 (same).
          ______________

                              B.  Substantial Continuity
                              B.  Substantial Continuity
                                  ______________________

                    Having established that  Local 139B's voting  procedure

          did  not  violate due  process, we  turn  now to  the substantial

          continuity prong of  the test.  The focus in  this second step is

          on whether the administrative transfer "substantially changed the

          union."   Seattle-First, 475 U.S. at 199.   In making its factual
                    _____________

          determination,  the  Board  traditionally considers  a  number of

          factors,  including  the   union's  "structure,   administration,

          officers, assets,  membership,  autonomy, by-laws,  [and]  size,"

          NLRB  v. Pearl  Bookbinding Co.,  517 F.2d  1108, 1111  (1st Cir.
          ____     ______________________

          1975), as well as any changes "'in the  rights and obligations of

          the union's  leadership and membership, and  in the relationships


                                         -12-














          between  the putative  bargaining agent,  its affiliate,  and the

          employer,'" Insulfab, 789 F.2d at 966 (quoting J. Ray McDermott &amp;
                      ________                           __________________

          Co. v. NLRB, 571 F.2d 850, 857 (5th Cir.), cert. denied, 439 U.S.
          ___    ____                                ____________

          893 (1978)).   Nonetheless, "[i]n assessing  continuity, the NLRB

          does  not  run  down  a checklist  of  'certain  cited criteria';

          instead,  the Board  considers  'the totality  of a  situation.'"

          News/Sun Sentinel Co.,  890 F.2d  at 315  (quoting Yates  Indus.,
          _____________________                              ______________

          Inc., 264  N.L.R.B. 1237, 1250 (1982)).   The burden is  again on
          ____

          Sullivan to prove lack of continuity.  News/Sun Sentinel Co., 890
                                                 _____________________

          F.2d at 315.

                    Sullivan argues that the Board incorrectly  applied the

          law and relied upon findings of fact not supported by substantial

          evidence  in holding  that substantial continuity  exists between

          Locals  139B and 109C and Local 600M.   We turn now to the merits

          of this claim. 

                            1.  Leadership Responsibility
                            1.  Leadership Responsibility

                    Local 139B:   No  former Local 139B  official holds  an
                    __________

          elected or appointed  position in  Local 600M.   The Board  found

          that the only remaining Local 139B officers, President Becht  and

          Jeannette Pickels, were both  offered and declined positions with

          Local 600M  after the  merger.  The  Board also found  that Becht

          agreed  to serve on Local 600M's negotiating committee, a role he

          played  prior to the merger.   The Board  noted that negotiations

          would be accomplished  by the  union's president, who  was not  a

          Sullivan employee, as was true  in the past.  Thus, according  to

          the Board, the lack of continuity in leadership was caused by the


                                         -13-














          free  choice  of  the  leaders  themselves,  and  there  was some

          continuity  in   the  form   of  Becht's  participation   on  the

          negotiating committee.  

                    We  find that the  Board's conclusion regarding Becht's

          role  is not supported by  substantial evidence.   Both Becht and

          the  president of Local 600M testified that Becht had agreed that

          "if  he was  available, he'd  be delighted  to  be there,  but he

          couldn't  commit."  (Transcript  of hearing before  NLRB, Feb. 3,

          1994, p. 265).  Thus, the commitment to serve on  the negotiating

          committee  was tentative at best, and not the agreement the Board

          describes.  See  Sullivan I,  38 F.3d  at 65.   Accordingly,  the
                      ___  __________

          Board's conclusion that Becht "will continue to perform  the same

          leadership role  with respect to the  [Local 600M's] negotiations

          with Respondent," Sullivan II, 317 N.L.R.B. at __, 1995 WL 318651
                            ___________

          at *5,  is also  without a  foundation  in substantial  evidence.

          Becht's tentative  role in  the negotiation process,  paired with

          the  fact that no Local 139B  officer has an official position in

          Local   600M,  precludes   finding   substantial  continuity   in

          leadership.   See Garlock Equip.  Co., 288 N.L.R.B.  247, 1988 WL
                        ___ ___________________

          213720,  at *11  (1988) (viewing  continuity of  leadership as  a

          function  of   whether  the  unit's  employees   continue  to  be

          represented  by  the  same  officers,  who  are  operating  under

          procedures  and with a degree  of autonomy similar  to that which

          they had earlier).  

                    Whether a union "[r]etain[s]  the same key personnel is

          important,   for  '[w]hen   the   same  persons   participate  in


                                         -14-














          communications  with  the  company with  respect  to  grievances,

          contract negotiations, and  the like, continuity is  likely to be

          preserved.'"   Insulfab,  789  F.2d at  966 (quoting  St. Vincent
                         ________                               ___________

          Hosp.  v.  NLRB,   621  F.2d  1054,   1057  (10th  Cir.   1980)).
          _____      ____

          Nonetheless,  our  conclusion that  there  was  no continuity  of

          leadership between Local  139B and  Local 600M does  not end  our

          analysis,  as "'there is no requirement that officers of a merged

          local must  become officers of the  new local.'"  Sullivan  I, 38
                                                            ___________

          F.3d at 65 (quoting Service Am. Corp., 307 N.L.R.B. 57,  60, 1992
                              _________________

          WL 77803 at  *5 (1992)).   The Board weighs  the totality of  the

          evidence, see, e.g.,  Central Wash. Hosp., 303  N.L.R.B. 404, __,
                    ___  ____   ___________________

          1991 WL 113265 at *1 (1991), enforced sub nom. NLRB v.  Universal
                                       _________________ ____     _________

          Health  Sys., 967 F.2d 589 (9th Cir.  1992), and, as it commented
          ____________

          here,  the  situation  regarding  continuity of  the  Local  139B

          leadership is  "somewhat unusual,"  Sullivan II, 317  N.L.R.B. at
                                              ___________

          __,  1995 WL 318651 at  *5, because leadership  positions were in

          fact  offered to Becht and Pickels,  who declined them.  Thus the

          lack of  continuity is not due  to Local 600M itself  -- in fact,

          the  lack  of   leadership  was  a   driving  force  behind   the

          administrative transfer.    See  Seattle-First  Nat'l  Bank,  290
                                      ___  __________________________

          N.L.R.B.  571, __,  1988 WL  213911 at  *3 (1988)  (noting, inter
                                                                      _____

          alia, that there was no evidence that replacement of officers was
          ____

          a   condition  of  affiliation   or  result  of   action  by  the

          International  union in  finding  substantial continuity  despite

          turnover in officers),  enforced 892  F.2d 792  (9th Cir.  1989),
                                  ________

          cert. denied, 496 U.S. 925 (1990).   
          ____________


                                         -15-














                    Local 109C:   The Board adopted the  ALJ's finding that
                    __________

          there  was continued  leadership  responsibility on  the part  of

          Local 109C officials.  The ALJ noted that the former president of

          Local 109C, Boermeester, 

                    became an elected executive board  member [of
                    Local   600M]  on   August   5,   1993,   and
                    represented  the  former  Local 109C  members
                    employed  by Respondent  in the  dispute over
                    Respondent's unilateral changes  in a  401(k)
                    plan in  a letter sent in  his official Local
                    600M capacity on September  28, 1993, as well
                    as  demanding  bargaining over  new equipment
                    purchased  by  Respondent.     His  long-time
                    practice  of  regular  contact   with  chapel
                    chairmen  continued,  with  regular  contacts
                    between [Chapel Chairman Stephen] Wysocki and
                    him   over  representation   of  Respondent's
                    employees  and  Local 600M  President Carlsen
                    testified credibly that the Local denoted him
                    for membership on  the negotiating  committee
                    from  Local  600M  when  it  negotiates  with
                    Respondent.   He  represented  Local 600M  in
                    other   negotiations  with   employers  whose
                    employees  Local 109C  previously represented
                    . . . .

          Sullivan II, 317 N.L.R.B. at __,  1995 WL 318651 at *18 (citation
          ___________

          omitted).    The ALJ  also  noted  that  Chapel Chairman  Wysocki

          retained  the same  leadership  role that  he  had prior  to  the

          merger,  and  that the  president  of Local  600M  testified that

          Wysocki  will  be  used  as a  negotiating  committee  member  in

          contract negotiations with Sullivan.  Finally, it found  that two

          chapel  chairmen  at  another  former Local  109C  employer  will

          continue in their positions under Local 600M.  

                    Sullivan  contests  the ALJ's  conclusion.    First, it

          points  out  that  Boermeester was  the  only  former Local  109C

          official to hold any of the elected or appointed positions within


                                         -16-














          Local  600M -- indeed, Sullivan maintains, he was the only former

          official who even became  a member of Local 600M.5  Sullivan also

          relies on the testimony that Boermeester's appointment was  not a

          condition  of the merger, that  it was not  made until the merger

          was complete, that Boermeester  would have to win an  election to

          retain  his position,  as  it was  a  temporary  one to  fill  an

          unexpired term, and that  Boermeester represented a division that

          did  not contain former Local  109C members.   Sullivan adds that

          Boermeester  testified that  he agreed  to participate  in future

          negotiations only if he had time  to, and that, like Becht,  even

          in  those negotiations  in which  he participated,  he would  not

          enjoy  the  same  degree of  autonomy  and  authority  as he  had

          previously.  See Sullivan  I, 38 F.3d at 66.  Therefore, Sullivan
                       ___ ___________

          concludes,  Boermeester's role  cannot  be found  to satisfy  the

          continued leadership responsibility requirement.

                    We  found  in  Sullivan  I  that  "Wysocki's  continued
                                   ___________

          stewardship and Boermeester's position on  Local 600M's executive

          board represent  some continuity  of leadership for  their former

          local;   whether   they  represent   substantial   continuity  is

          doubtful."  38 F.3d at 66.  Our standard of review here is fairly

          deferential to the Board's  decision, while in Sullivan I  it was
                                                         __________

          the district court  that received our deference.   See id. at  63
                                                             ___ ___

          (noting that we reviewed  the court's determination of reasonable

          cause  for clear error, and the decision to deny equitable relief

                              
          ____________________

          5   Both Boermeester and  Wysocki testified that  no one in Local
          109C wanted to take over running the local.

                                         -17-














          for  abuse of discretion).  The standard makes all the difference

          here:    applying the  pertinent  standard,  we must  affirm  the

          Board's finding  that there was continuity  of leadership between

          Local  109C and Local  600M, notwithstanding Sullivan's argument.

          Cf. City Wide Insulation, Inc., 307 N.L.R.B. 1, __, 1992 WL 75108
          ___ __________________________

          at  *3  (1992)  (finding  substantial  continuity  of  leadership

          despite fact that business manager who formerly did not report to

          anyone  was  required to  report  to  secretary-treasurer of  new

          district  council  and union  counsel  was  added to  negotiating

          team).   The evidence Sullivan points to would allow a factfinder

          to  reach  conclusions  differing  from  the  Board's  --  as  we

          intimated in Sullivan  I -- but our review  of the record reveals
                       ___________

          substantial evidence underpinning the ALJ findings adopted by the

          Board  regarding Local 109C.  We will not substitute our judgment

          for  the Board's,  even  if we  might  have reached  a  different

          conclusion, see  Union Builders, 68 F.3d  at 522, and so  we must
                      ___  ______________

          affirm   the   Board's   finding   in   these   circumstances.   

                   2.  Negotiation and Administration of Contracts
                   2.  Negotiation and Administration of Contracts

                                      Proposals
                                      Proposals
                                      _________

                    In terms  of contract  proposals, the practice  of both

          Local 109C and  Local 139B was to hold informal  meetings -- at a

          donut  shop  or on  the shop  floor --  where members  could make

          proposals.    The  by-laws  of Local  600M,  however,  state that

          suggested contract proposals must  be submitted to the president,

          in  writing, at least  90 days prior to  contract expiration.  We

          agree  with Sullivan  that, on  its face,  this is  a substantial


                                         -18-














          change.   Nonetheless, the  case law is  firm that  what we  must

          weigh is not the  rule, but the actual  practice followed.   See,
                                                                       ___

          e.g., Central Wash. Hosp., 303 N.L.R.B. at __,  1991 WL 113265 at
          ____  ___________________

          *1.   Carlsen testified that the by-laws procedure was not always

          strictly followed:  sometimes Local 600M would  hold meetings for

          proposals,  and sometimes  employees would  send lists  that were

          developed and sent back to them for approval or modification.  On

          this record,  the  Board concluded  that  the procedure  did  not

          differ dramatically, despite the by-laws provision.

                    Sullivan protests  that there was no  evidence that the

          90 day requirement  was not adhered to.   But Sullivan bears  the

          burden  here  of  demonstrating  that there  was  no  substantial

          continuity, and it  points to nothing in the record demonstrating

          that the 90-day practice was adhered to, or how far ahead of time
                                   ___

          the Local 109C and  139B meetings were held.  In the  end, we are

          left with evidence  that the  old locals  held meetings  sometime

          prior to  the contract's  expiration to collect  suggestions, and

          that Local 600M's  practice is  to sometimes hold  meetings at  a

          point prior to expiration, and sometimes to consider lists mailed

          in.  On this record, we find that Sullivan has not met its burden

          and that we must affirm the Board's finding on this point.

                                Contract Negotiations
                                Contract Negotiations
                                _____________________

                    In negotiating contracts with Sullivan, the practice of

          Local  139B was for the president and  a Sullivan employee to act

          as  the negotiators; most recently,  that had been  Becht with an

          employee.    According  to  Carlsen's  testimony,  Local   600M's


                                         -19-














          practice  would be  to  use a  committee  formed of  the  local's

          president, plus  Becht as the former  president, Wysocki (because

          there  was  no  chapel chair  from  former  Local  139B), and  an

          employee,  if possible.  For Local 109C, the past practice was to

          use  the local's president,  vice president, and  a chapel chair:

          only  the latter  was a  Sullivan employee.   Again  according to

          Carlsen,  the  new  practice would  be  to  have  himself as  the

          president, Boermeester as the former president, Wysocki as chapel

          chair, and perhaps an employee, serve on the committee.  

                    Sullivan argues that there is no substantial continuity

          here, as the primary responsibility for negotiations have shifted

          from Becht (who will not necessarily even serve)  and Boermeester

          to Carlsen.  Nonetheless,  we agree with the Board that there has

          been  no  substantial  break   in  continuity.    First,  neither

          Boermeester nor  Becht were Sullivan employees to begin with, and

          so both  before and after the  administrative transfer Sullivan's

          employees will be  represented by  a team led  by a  non-employee

          president.     Second,  on   both  the  pre-   and  post-transfer

          committees,  the Sullivan  employees do not  make up  a majority.

          Prior  to  the  transfer, employees  made  up  half  of the  139B

          committee, and one third of the 109C committee:  assuming Carlsen

          can find employees to  fill his designated spots, they  will make

          up one  half of both committees.   Based on this  record, we find

          that substantial evidence supports the Board's factual finding of

          substantial continuity in contract negotiations.

                    Local 600M attempted to  extend the bindery contract so


                                         -20-














          that the contracts  of both Locals 139B and  109C would expire on

          the  same date,  allowing  Local 600M  to  break the  established

          practice of negotiating  the contracts  individually and  bargain

          for both at one  time.  Sullivan contends that  this would result

          in a loss of autonomy for the locals, and so contests the Board's

          conclusion  that the attempt did not mark a significant change in

          negotiation  of  contracts.    The  Board based  its  finding  on

          Carlsen's  testimony that he would be willing to conduct separate

          negotiations if the employees so wished.  Without citing support,

          Sullivan  maintains that  the very  fact that  joint negotiations

          were proposed reveals the lack of substantial continuity present.

          To the contrary, we find that Carlsen's flexibility on conducting

          separate negotiations  indicates that  Local 600M was  willing to

          compromise in order to maintain the continuity of representation:

          to find otherwise would  be to penalize the new  local merely for

          suggesting changes that may,  in fact, benefit workers.   We have

          no  reason  to second-guess  the  Board's  reliance on  Carlsen's

          testimony, and accordingly affirm its findings on this point.

                                Contract Ratification
                                Contract Ratification
                                _____________________

                    The   Board  found   that  the   contract  ratification

          procedures remains substantially the same.  Prior to  the merger,

          in  both  locals a  proposed  contract  was  ratified  only  when

          accepted by a majority of the bargaining unit employees voting in

          a secret ballot election.  The Board found, and Sullivan does not

          seem  to  contest,  that Local  600M's  practice  of having  only

          covered employees  vote,  by secret  ballot  if requested,  is  a


                                         -21-














          substantially similar practice.

                    Sullivan focuses instead on  the fact that, under Local

          600M,  the executive  board  has the  right  to accept  contracts

          contrary to the  membership's vote, thereby opening up the danger

          of  the executive board accepting  a contract and  imposing it on

          the  bargaining unit  employees even  though a majority  of those

          employees voted to reject the  contract.  The Board did  not find

          the change substantial, on the basis that

                      this  procedure takes  effect  only in  a
                      very  limited  situation,  i.e., where  a
                      unit  rejects a contract offer, votes not
                      to  strike,  and   does  not  accept  the
                      executive   committee's   recommendation.
                      Under these limited circumstances, such a
                      difference does not rise to the level  of
                      a significant change.

          Sullivan  II, 317  N.L.R.B. at  __,  1995 WL  318651 at  *6.   On
          ____________

          appeal, the  Board reiterates its logic that  the executive board

          can only disregard  the employees' wishes when  they have brought

          the  bargaining to a gridlock, an  unlikely occurrence.  Sullivan

          retorts that  employees will  frequently reject a  contract offer

          but decide not to strike, and that  even if the use of the  power

          is  rare,  the  dramatic change  from  the  old  locals' complete

          autonomy and the lasting consequences on the employees of the use

          of   the  executive  board's   power,  represents   a  meaningful

          diminution of local autonomy and  indicates a lack of continuity.

          See National Posters, Inc., 289 N.L.R.B. 468, __, 1988 WL 213801,
          ___ ______________________

          at *20  (1988) ("If . . . the  members of the Local possessed the

          authority  before the merger, but did  not thereafter, to finally

          consummate  their  own  bargaining   agreements,  a  question  of

                                         -22-














          continuity of identity would be raised."), enforced 885 F.2d  175
                                                     ________

          (4th Cir. 1989), cert. denied, 494 U.S. 1026 (1990).
                           ____________

                    We  disagree.   The  case law  Sullivan  relies on  for

          support  involve a veto power that is invoked in every situation,

          unlike here.  See, e.g., Garlock  Equip. Co., 288 N.L.R.B. at __,
                        ___  ____  ___________________

          1988  WL 213720 at *13  (finding lack of  continuity where, inter
                                                                      _____

          alia, representative of new district lodge  must consent to every
          ____

          contract, creating  a de facto veto).   We are more  persuaded by

          the Board's reasoning in Seattle-First,  290 N.L.R.B. at __, 1988
                                   _____________

          WL 213911 at  *4.  There, as  here, the former  practice required

          ratification  of a  new  contract by  the  membership, but  after

          merger the new executive  council could accept or reject  a final

          contract  offer without  membership  approval.   The Board  found

          that,  as  the  executive  council's  authority  was  limited  to

          occasions  where the  membership had  rejected a strike  or other

          economic  action, as here, the  membership did in  fact "have the

          opportunity to voice its approval or disapproval of a final offer

          and the executive council cannot bypass the membership."  Id.  We
                                                                    ___

          accordingly affirm the Board's finding on this issue.

                                      Grievances
                                      Grievances
                                      __________

                    The  ALJ  found,  without comment,  that  the grievance

          handling procedures for  Local 600M  were the same  as for  Local

          109C.   The Board adopted  that finding, and  concluded that, for

          Local  139B,  the  limited  evidence before  it  demonstrated  no

          significant  difference in grievance  handling procedures.   Both

          before and after the  transfer, the president of the  Local would


                                         -23-














          have the  authority to resolve grievances once  attempts to solve

          the problem informally at the shop level were unsuccessful.

                    Sullivan  challenges  these   findings  on  two  bases.

          First, Sullivan notes day-to-day administration had formerly been

          the responsibility of a Lowell-area  union official, and now  the

          administration  would  be  undertaken  by  Boston-area  President

          Carlsen.   As the administration was never under the control of a

          Sullivan  employee, we fail to  see how this  change in personnel

          amounts to a significant change, where the actual practice is the

          same.   Second, Sullivan argues that neither of the former locals

          transferred  its past contracts,  arbitration decisions, contract

          proposals, or grievance  resolutions, effectively undermining the

          preservation of continuity in  contract administration.  We agree

          with  the Board that, as  any informal settlement  of a grievance

          has   no  precedental  value,  this  is  not  a  point  of  great

          significance.   Indeed,  Sullivan offers  no evidence  that Local

          600M could  not, in fact,  access such records if  a need arises.

          Finally, Sullivan focuses on  the fact that, under Local  139B, a

          grievance received  the direct attention of  President Becht, but

          under Local 600M, an unresolved grievance was to be handled  by a

          pressroom  steward, and  concludes  that Local  600M intended  to

          systematically blur  the line  between the bindery  and pressroom

          units.   We disagree.   Local 139B  never had a  chapel chairman,

          according to  Becht's testimony, because he could not find anyone

          willing  to do  the job.   In this  situation, we  agree with the

          Board that the use  of another Sullivan employee who  is from the


                                         -24-














          former Local  109C instead  of from Local  139B does  not mark  a

          substantial difference.

                                     Strike Votes
                                     Strike Votes
                                     ____________

                    With  respect to strike votes,  the Board found, and we

          agree, that the basic procedures of the  locals are substantially

          similar.  Sullivan's argument to the contrary is based on a Local

          600M by-laws provision, which allows the  executive board to call

          a strike  in shops with 25  or fewer members without  holding any

          kind of  a vote.   Before doing so,  the executive board  must be

          satisfied that  the membership and the  International support the

          strike and that  the strike would have  no adverse effect on  the

          Local.   The  Board  discounted  the danger  of  this  provision,

          relying on Carlsen's  testimony that the  actual practice was  to

          have  the  individual  shop  affected conduct  a  vote  by secret

          ballot,  with  a two-thirds  majority  necessary  to authorize  a

          strike.     Sullivan's  position  is  that   Carlsen's  testimony

          regarding Local 600M's normal policy regarding strike votes would

          not apply here,  because Sullivan's employees fall  within the 25

          or fewer exception to the rule.  Sullivan points out that Carlsen

          never stated  that the executive board did  not have the right to

          order a strike in such a  small shop, or that the executive board

          never did.  

                    We  find  support for  the  Board's  conclusion in  the

          following testimony by Local 600M President Carlsen:

                         JUDGE  BERNARD:  .  .  .  .   Are  you
                      testifying  that  in  the respects  we've
                      just  discussed,  the  strike  fund,  the
                      binding nature  of a  strike vote  by the

                                         -25-














                      Local   600M,   these  remaining   shops,
                      including  Sullivan  . . . , the  members
                      there,   .  .   .  have   retained  their
                      autonomy?
                         THE WITNESS:  They have retained their
                      autonomy  as to  the right  to vote  on a
                      contract  or  take an  individual strike,
                      but the Local would  support them if they
                      voted to go on strike.
                         If   we   vote   to  strike   Sullivan
                      Brothers,  Sullivan  Brothers would  also
                      have the facilities of the merged fund.
                         JUDGE  BERNARD:   Getting down  to the
                      bottom  line  just  numbers  wise,  these
                      shops would not necessarily be able to be
                      outvoted or outflooded  by all the  other
                      shops in Local --
                         THE WITNESS:  No, sir, the other shops
                      would have nothing to do with it . . . .

          (Hearing Testimony, at 223-24).  As Sullivan noted, Carlsen never

          stated  that  the  by-law  in  question  would  not  be  applied.

          However,  Carlsen's statement  that the Sullivan  shops "retained

          their  autonomy  as to  the right  to .  .  . take  an individual

          strike"  offers evidentiary  support for  the Board's  conclusion

          that "there is,  at most,  a minimal difference  between the  two

          locals'  premerger  procedures   and  those  of  [Local   600M]."

          Sullivan  II, 317  N.L.R.B. at  __, 1995  WL 318651  at *6.   The
          ____________

          burden is on Sullivan to show that there is a lack of substantial

          continuity between the locals:   here, where the Board  can point

          to  evidence that the by-law at issue is not enforced, Sullivan's

          failure  to  raise  record  evidence  disproving  that  assertion

          requires  that we affirm  the Board's  conclusion.   Cf. Seattle-
                                                               ___ ________

          First, 290  N.L.R.B. at __, 1988  WL 213911 at *5  n. 11 (holding
          _____

          that international's potential authority to impose trusteeship on

          a local for failure  to obtain authorization to strike  "does not


                                         -26-














          defeat the conclusion that in most situations decisions to strike

          remain at the local  level").  But see Sullivan I, 38  F.3d at 67
                                         _______ __________

          ("The record contains no evidence that that particular provision,

          or any other provision in question, does not represent the actual

          practice of Local 600M.").  

                                3.  Assets and Records
                                3.  Assets and Records

                    The  Board   found  that   Local  139B's  assets   were

          transferred  to Local 600M  and commingled with  other funds, but

          that  the evidence  indicated  that "the  full  resources of  the

          [Local] are available to  the former Local 139B unit."   Sullivan
                                                                   ________

          II, 317 N.L.R.B. at __, 1995 WL 318651 at *7.  As for Local 109C,
          __

          its  assets  were  transferred  into  the  Local  600M strike  or

          emergency  fund, with similar results.   We agree  with the Board

          that such  commingling  is not  dispositive, and  that "it  would

          frustrate  a purpose of the Act to find that employee expressions

          of  desire  to  achieve  [increased  financial  support]  through

          affiliations   and   mergers   automatically   raised   questions

          concerning representation."  Id.   Therefore, although there is a
                                       ___

          substantial difference  in the locals' assets prior  to and after

          the administrative transfer,  like the Board we  are not disposed

          to give that fact great weight.

                            4.  Members' Rights and Duties
                            4.  Members' Rights and Duties

                                         Dues
                                         Dues
                                         ____

                    The  Board  found a  "slight  difference"  in the  dues

          structure for Local 139B:  the transfer resulted in a change from

          a  flat dues  rate to  a sliding scale,  resulting in  an overall


                                         -27-














          increase.   The  ALJ  found a  similar  increase for  local  109C

          members, from $8.00 to $9.22.  No initiation fees were charged to

          members of either local.  Sullivan argues now  that the change to

          a  sliding scale system based  on salary, plus  the difference in

          the  dues  charged, amounts  to a  substantial  change.   We find

          nothing in its argument or the case law it relies on, however, to

          convince  us  that  the Board's  findings  were  incorrect.   See
                                                                        ___

          Central Wash. Hospital, 303 N.L.R.B. at  __, 1991 WL 113265 at *2
          ______________________

          n.8 (finding no marked change in dues despite rise from $10.42 to

          $12.50 per month).

                               Obligations and By-laws
                               Obligations and By-laws
                               _______________________

                    The Board recognized that there is a difference between

          the  former locals' by-laws and those of  Local 600M, in that the

          latter set of by-laws restrict members' rights  to accept outside

          employment.  The Board, however, citing the lack of evidence that

          Local 600M  ever enforced the restrictions,  found no significant

          change.    The Board  relied on  the  premise, cited  above, that

          actual practice, not policy,  controls.  See Sullivan I,  38 F.3d
                                                   ___ __________

          at  66-67.  But there was no  evidence here that the by-laws were

          not followed on this issue:   thus, the only evidence we  find on

          this record is  the restriction itself.  See id.  Accordingly, we
                                                   ___ ___

          find  that Sullivan  has met  its burden  of  showing significant

          change, and the Board's  conclusion lacks substantial evidentiary

          support.

                                        Voting
                                        Voting
                                        ______

                    Finally, Sullivan argues that a  fundamental difference


                                         -28-














          has been made in the locals' character:  Local 109C was comprised

          exclusively of pressmen, and Local 139B of bookbinders, but Local

          600M  includes  a mix  of  different  printing industry  workers.

          Similarly,  while the original locals were limited to the city of

          Lowell and  its environs,  the territorial jurisdiction  of Local

          600M  extends throughout  eastern Massachusetts  and part  of New

          Hampshire.   More importantly,  Sullivan emphasizes that  through

          the transfer, its  employees in  Locals 139B and  109C went  from

          being part of locals  with 8-10 and 40 members,  respectively, to

          membership in a  local of  over 700 people.   Sullivan  concludes

          that such a  dramatic increase in size  would result in a  severe

          diminution of voting strength, a factor the Board  has considered

          in finding a question  concerning representation has been raised.

          See, e.g.,  Pacific Southwest  Container, Inc., 283  N.L.R.B. 79,
          ___  ____   __________________________________

          __, 1987 WL 109286, at *2 (1987).  Sullivan notes that even where

          a merger is between two locals  of the same international, as the

          administrative  transfer is here, the  Board has found  a lack of

          continuity  where there  was a  similar disparity  of size.   See
                                                                        ___

          Quality Inn Waikiki, 297 N.L.R.B. 497, __, 1989 WL 224495, at *10
          ___________________

          (1989).

                    In  making  its  comparison in  substantial  continuity

          cases,  the  Board generally  looks  at  the  local  in  question

          immediately  before the  affiliation, merger,  or transfer.   See
                                                                        ___

          e.g.,  Seattle-First, 290 N.L.R.B. at  __, 1988 WL  213911 at *2.
          ____   _____________

          Here, however, the Board,  without citing any authority, expanded

          the  period in this case to include the locals' position prior to


                                         -29-














          NADCO's  closing.   Accordingly,  the  Board  concluded that  the

          merger  left  the  members  of the  locals  in  their  historical

          position:   "a  small  segment  of a  larger  local  representing

          similar craft employees within the same geographic area under the

          same  International."  Sullivan II,  317 N.L.R.B. at  __, 1995 WL
                                 ___________

          318651 at *7.6  It argues again now that the proper comparison in

          terms of size is between the historic size of the locals -- about

          240  for Local 139B and  125 for Local  109C in 1990   -- and not

          their  size  right before  the  merger,  as membership  had  been

          diminished  by NADCO's  closing.   Viewed from  that perspective,

          appellee  calculates,  prior  to  NADCO's  closing  employees  of

          Sullivan  constituted about  seven percent  of the  membership of

          each local; now,  Sullivan's employees  are 28 of  700, or  about

          four percent, of Local 600M.  However, we need not determine here

          whether  the Board  erred  in considering  the pre-NADCO  closing

          figures, for we find  that, even assuming Sullivan  can establish

          that  there are significant differences in voting power, there is

          still  substantial continuity  between Locals  109C and  139B and

          Local 600M.  

                    Whether    a    merger,   transfer,    or   affiliation

          substantially  changes  a local  is a  question  of degree.   Our

          measure  of the changes here  reveals that it  falls somewhere in

          the gray area between a  complete transformation in identity  and

          no   change  at  all.    On  balance,  while  we  recognize  that

                              
          ____________________

          6  The  International Union's constitution permits it  to rescind
          or suspend the charter of any local with fewer than 50 members.

                                         -30-














          significant changes have been wrought in the locals' by-laws  and

          assets -- and, for Local 139B, in its leadership -- the weight of

          the  factors we  have  examined leads  us  to conclude  that  the

          changes are not  sufficiently dramatic to  alter the identity  of

          the  bargaining representative  and  raise a  question concerning

          representation.  

                    We  do not  reach  this conclusion  merely because  the

          majority of the factors  we examined weigh in favor  of affirming

          the  NLRB's  decision:   this  is  not a  mathematical  analysis.

          Simply put, we cannot find that  the changes here -- an  increase

          in assets, a  new local by-law restricting  outside employment, a

          change in  leadership due to  the previous  officers' refusal  to

          stay  on,  and   a  decrease  in  immediate  voting  strength  --

          substantially changed the local  when it is governed by  the same

          International  constitution  and  by-laws, when  the  system  for

          contract proposal,  negotiation, and ratification as  well as for

          grievances  and strike votes is substantially the same as before,

          and  when  even  the  dues  have  stayed  essentially  the  same.

          Accordingly,  we  affirm  the  Board's  finding  of   substantial

          continuity.

                                   II.  Local 600M
                                   II.  Local 600M
                                        __________

                    Sullivan's contract  with Local  139B provided  for the

          checkoff   of   employees'   union  dues   upon   their   written

          authorization.  In its  decision and order, the Board  refused to

          order  Sullivan  to  honor the  dues  checkoff  provision of  the

          expired bookbinders' contract.   The Board stated that it  did so


                                         -31-














          because the  bookbinders' agreement had expired, and  "it is well

          settled that  the checkoff  obligation does not  survive contract

          expiration."  Sullivan II, 317 N.L.R.B. at __,  1995 WL 318651 at
                        ___________

          *9 n.15.  The  Union then filed a request  for reconsideration of

          the remedy, which the Board denied.  Before us, Joint Petitioners

          Local 600M and the  GCIU (together, the "Union"), argue  that the

          Board erred.  

                    In reviewing the Union's  claim, we will not substitute

          our judgment for  the Board's.   We treat the  Board's choice  of

          remedy  with  particular deference:    "[a]  Board-ordered remedy

          'should  stand  unless it  can  be shown  that [it]  is  a patent

          attempt to achieve ends other than those which can fairly be said

          to effectuate the policies of the Act.'"  Pegasus Broadcasting of
                                                    _______________________

          San Juan, Inc. v. NLRB, 82 F.3d 511, 513 (1st Cir. 1996) (quoting
          ______________    ____

          Virginia Elec. &amp; Power Co. v. NLRB, 319 U.S. 533, 540 (1943)).
          __________________________    ____

                    The Union first contends that the Board has not met its

          obligation to  explain its decisions and  support those decisions

          with substantial  evidence, in  either the original  decision and

          order  or its order denying the request for reconsideration.  See
                                                                        ___

          Burlington  Truck  Lines v.  United  States,  371 U.S.  156,  167
          ________________________     ______________

          (1962). Accordingly, it asks that we remand the Board's order for

          clarification  and  reconsideration.    See NLRB  v.  Food  Store
                                                  ___ ____      ___________

          Employees Union, 417 U.S. 1, 9-10 (1974).
          _______________

                    We find that remand is unnecessary, as the Board has in

          fact explained  and supported its decision,  unlike in Burlington
                                                                 __________

          Truck Lines, on  which the  Union relies.   See Burlington  Truck
          ___________                                 ___ _________________


                                         -32-














          Lines, 317 U.S. at  167 ("There are  no findings and no  analysis
          _____

          here to justify the  choice made, no indication  of the basis  on

          which the Commission exercised its expert discretion."); see also
                                                                   ________

          District  1199P v. NLRB, 864 F.2d 1096,  1100 n.3 &amp; 1102 (3d Cir.
          _______________    ____

          1989).  The  Board found the pertinent fact --  that the contract

          had expired  -- and applied  the relevant law --  that a checkoff

          obligation does not survive  contract expiration.  The  two cases

          the Board relies on support its statement of the law.  See Litton
                                                                 ___ ______

          Fin. Printing Div. v.  NLRB, 501 U.S. 190, 198-99  (1991) (noting
          __________________     ____

          that  the Board  has  held  that  dues check-off  provisions  are

          excluded  from the  general  rule that  "an  employer commits  an

          unfair  labor  practice if,  without  bargaining  to impasse,  it

          effects a unilateral change  of an existing term or  condition of

          employment");  Indiana &amp; Mich.  Elec. Co.,  284 N.L.R.B.  53, __,
                         __________________________

          1987  WL 89684,  at *3  (1987) ("The exception  . .  . permitting

          unilateral  abandonment  of .  .  .  checkoff arrangements  after

          contract  expiration is  based  on the  fact  . .  . that  '[t]he

          acquisition and maintenance of union  membership cannot be made a

          condition of employment except under a contract which conforms to

          the proviso  to Section 8(a)(3).'" (quoting  Bethlehem Steel, 135
                                                       _______________

          N.L.R.B. 1500, 1502 (1982))); see also Ortiz Funeral  Home Corp.,
                                        ________ _________________________

          250 N.L.R.B. 730,  731 &amp; n.6  (1980), enforced  651 F.2d 136  (2d
                                                ________

          Cir. 1981), cert. denied, 455 U.S. 946 (1982).  That the  Board's
                      ____________

          conclusion was made succinctly does not defeat its logic.

                    Second, the  Union  argues that  United  Rubber,  Cork,
                                                     ______________________

          Linoleum and  Plastic Workers  of America, Local  250 (Mack-Wayne
          _________________________________________________________________


                                         -33-














          Closures), 290  N.L.R.B. 817  (1988), supplemented,  305 N.L.R.B.
          _________                             ____________

          764  (1991),  applies here.    That  case addressed  what  remedy

          applies when  a union breaches  its duty  of fair  representation

          with regard  to processing  an employee's  grievance.  The  Board

          held  that once the General  Counsel meets its  initial burden of

          proving  that   the  underlying   grievance   was  "not   clearly

          frivolous,"  the burden shifts to the union to establish that the

          grievance was not meritorious.   If it cannot, the  employee will

          be awarded back pay.  See 290  N.L.R.B. at ___, 1988 WL 214001 at
                                ___

          *5.  

                    Specifically, the  Union  agrees that  if Sullivan  had

          bargained  in good faith with the Union, under Litton and Indiana
                                                         ______     _______

          &amp;  Michigan Electric Sullivan would  not have committed an unfair
          ____________________

          labor  practice  by  refusing  to  continue  in effect  the  dues

          checkoff provision of the  expired contract.  However, the  Union

          points  out, Sullivan did not bargain in good faith here; indeed,

          it  committed an unfair  labor practice.   Accordingly, the Union

          continues, under Mack-Wayne Closures, any uncertainty  created by
                           ___________________

          Sullivan's refusal to bargain should be assessed against it.  See
                                                                        ___

          id. at  *3 (noting that  forcing the  union to bear  the risk  of
          ___

          uncertainty was "in keeping with traditional equitable principles

          that the wrongdoer shall bear the risk of any uncertainty arising

          from its  actions").   Here,  the Union  posits, the  uncertainty

          concerning  whether Sullivan  would  have agreed  to continue  in

          effect the  dues checkoff provision pending  agreement or impasse

          on  a   new  contract   should  be  assessed   against  Sullivan.


                                         -34-














          Therefore,  the Union  concludes, Sullivan  should be  ordered to

          make  the Union whole by  remitting dues for  the bookbinder unit

          employees for  the entire period  from the  date Sullivan  ceased

          doing  so, with interest.  Refusal to do so, the Union maintains,

          would reward Sullivan for its  unlawful refusal to recognize  and

          bargain with the Union.

                    The   Board  responds   that  Mack-Wayne   Closures  is
                                                  _____________________

          distinguishable.   Contrary to the Union's  contention, the Board

          argues, Mack-Wayne Closures did not  rest solely on the principle
                  ___________________

          that uncertainty  should be resolved against  the wrongdoer whose

          conduct created the  uncertainty.   It also rested  on two  other

          considerations.  First, the Board noted that "the union obviously

          [had]  more  particular knowledge  regarding  the  merits of  the

          underlying  grievance than  the General  Counsel," such  that the

          case fell within the principle that "the burden of establishing a

          particular  matter will often be placed on the party with special

          knowledge regarding that matter."   290 N.L.R.B. at ___,  1988 WL

          214001, at  *4.  This consideration does not apply here.  Second,

          the Board argues, Mack-Wayne  Closures also stressed "the special
                            ____________________

          character   of  the  grievance-arbitration   process,  where  the

          employee is in effect 'presumed' to  be 'innocent.'"  Id. at  *5.
                                                                ___

          If  the  burden  were not  shifted,  the  employee  would lose  a

          procedural and  tactical advantage, i.e., of  having the employer

          bear the burden of proof.  Id.  at *4.  The Board points out that
                                     ___

          no similar loss  of rights  is demonstrable in  this case,  which

          involves  the denial, not  of rights under  an existing contract,


                                         -35-














          but of the opportunity to negotiate a new contract.

                    The  Board notes that it  based its refusal  to issue a

          prospective order on the "settled principle" that such provisions

          do  not survive the expiration of the contract, because the Labor

          Management  Relations Act,  29 U.S.C.    186(c)(4),  permits dues

          checkoff  arrangements  only  as   part  of  a  valid  collective

          bargaining  agreement.   See  Litton, 501  U.S. 190,  199 (1991).
                                   ___  ______

          Also, it  points out, it cannot  order an employer to  agree to a

          checkoff provision, even where the employer's refusal to agree to

          such a provision  is based on a desire to frustrate agreement and

          not on any legitimate reason.   See H.K. Porter Co. v.  NLRB, 397
                                          ___ _______________     ____

          U.S. 99,  108 (1970) ("[A]llowing  the Board to  compel agreement

          when the parties themselves are unable to agree would violate the

          fundamental  premise  on  which  the  Act  is  based  --  private

          bargaining under governmental supervision of the procedure alone,

          without  any  official compulsion  over the  actual terms  of the

          contract."). 

                    Similarly, the Board maintains, the remedy for unlawful

          repudiation  of a  contractual  checkoff provision  cannot extend

          beyond the  expiration date of  the contract, where  the employer

          has  not  agreed  to  a  subsequent  contract  containing such  a

          provision.  See Ortiz  Funeral Home Corp., 250 N.L.R.B. at  731 &amp;
                      ___ _________________________

          n.6  (noting that  "a union's  right to  dues checkoff  . .  . is

          extinguished on expiration of the collective-bargaining agreement

          creating that right").   The Board concludes  that nothing in the

          record could enable it to determine whether, or when, the parties


                                         -36-














          would  have reached agreement on  a new contract  if Sullivan had

          not refused  to bargain.  Since the Board would be left having to

          decide,  in essence, what the  parties should have  agreed to, it

          contends that it properly declined to speculate.  

                    We find the Board's  reasoning persuasive.  Simply put,

          it is  too far a  reach to extrapolate the  Board's fairly narrow

          reasoning in Mack-Wayne  Closures into this  context.  See  Mack-
                       ____________________                      ___  _____

          Wayne  Closures,  290  N.L.R.B. at  __,  1988  WL  214001, at  *5
          _______________

          (describing  the specific  circumstances in  which the  burden of

          proof  shifts to  the union).   The  Union has not  presented any

          authority that would help us close that gap.  Accordingly, as the

          Union has not shown that the Board's remedy is "'a patent attempt

          to achieve  ends other  than those  which can  fairly be said  to

          effectuate the  policies of  the Act,'" Pegasus  Broadcasting, 82
                                                  _____________________

          F.3d at 513 (quoting Virginia Elec. &amp; Power Co. 319 U.S. at 540),
                               __________________________

          we affirm  the Board's denial  of the  request to honor  the dues

          checkoff provision.

                                      CONCLUSION
                                      CONCLUSION

                    The  mere fact that a  majority of the  members of both

          Locals 109C  and 139B voted  for the administrative  transfers at

          issue  here does not, and cannot, resolve the question of whether

          a question of representation has arisen.  "In determining whether

          a 'question concerning representation'  exists because of lack of

          continuity,  the Board  is  not directly  inquiring into  whether

          there is majority  support for the  labor organization after  the

          changes  at issue, but rather is seeking to determine whether the


                                         -37-














          changes are so great that a new organization has come into  being

          --  one that  should be  required to  establish its  status  as a

          bargaining representative  through the same means  that any labor

          organization  is required to use in the first instance."  Western
                                                                    _______

          Comm'l  Transp., Inc., 288 N.L.R.B.  214, __, 1988  WL 213704, *5
          _____________________

          (1988).  Nonetheless, as the Supreme Court recently commented,

                      [t]he  Board  is  .   .  .  entitled   to
                      suspicion when faced  with an  employer's
                      benevolence  as   its  workers'  champion
                      against their certified  union, which  is
                      subject  to  a  decertification  petition
                      from the  workers if  they  want to  file
                      one.   There  is nothing  unreasonable in
                      giving a short leash  to the employer  as
                      vindicator     of      its     employees'
                      organizational freedom.

          Auciello Iron  Works, Inc. v. NLRB, 116 S. Ct. 1754, 1760 (1996).
          __________________________    ____



                    For the reasons stated above, we affirm.
                                                     affirm
                                                     ______

























                                         -38-









